                                                                               Ex. 3-Motion to Compel Subpoena
  DATE                                                       NARRATIVE                                                        TIME-   HOURS    RATE          VALUE
                                                                                                                             KEEPER
 9/6/2022   Conduct legal research regarding whether a public adjuster who has not received an assignment of claim             KAH     3.2    $ 255.00   $     816.00
            constitutes a party to the lawsuit.
9/13/2022   Lengthy telephone conference with opposing counsel re P&G Construction's belatedly produced assignment            BCN      0.8    $ 350.00   $     280.00
            of claim, options to address same and affect on settlement
9/13/2022   Review of P&G Construction’s assignment of claim and creation date of same                                        BCN      0.3    $ 350.00   $     105.00
9/13/2022   Conduct legal research regarding permissibility of an assignment of claim from an insured to public adjuster,     KAH      2.0    $ 255.00   $     510.00
            prohibition against a public adjuster recovering as public adjuster and from property repairs, and validity of
            late disclosed assignment of claim.
9/13/2022   Investgation of client's claims file (638 pages) re whether P&G Construction's assignment of claim was ever       BCN      0.7    $ 350.00   $     245.00
            produced to client
9/13/2022   Email to client re P&G Construction's belatedly produced assignment of claim and options to address same          BCN      0.5    $ 350.00   $     175.00

9/28/2022  Email from P&G Construction re: status of dispute                                                                  BCN      0.2    $ 350.00   $      70.00
9/30/2022  Review service options upon Russ Perkins for service of process and to avoid William Griffin                       BCN      0.2    $ 350.00   $      70.00
10/3/2022  Email with P&G Construction re: need for dates for taking of deposition                                            BCN      0.2    $ 350.00   $      70.00
10/3/2022  Draft Subpoena to P& G Construction Inc.                                                                           KAH      0.2    $ 255.00   $      51.00
10/3/2022  Draft Subpoena to P&G Construction Consultants, LLC                                                                KAH      0.2    $ 255.00   $      51.00
10/4/2022  Revisions to subpoena to P&G Consultants to address additional categories of documents and electronic              BCN      0.3    $ 350.00   $     105.00
           information related to alleged assignment of claim
 10/4/2022 Email from P&G Consultants re: information sought pursuant to subpoena                                             BCN      0.1    $ 350.00   $      35.00
 10/4/2022 Review email correspondence from Plaintiff and P&G Consultants to determine likely topics regarding which          BCN      0.4    $ 350.00   $     140.00
           to seek discovery from P&G Consultants
10/13/2022 2 telephone conferences R. Watson of P&G Construction Consultants, Inc. re subpoena and response that              BCN      0.3    $ 350.00   $     105.00
           she has no documents responsive to the request
 11/4/2022 Review options to compel P&G Construction to comply with issued subpoena                                           BCN      0.2    $ 350.00   $      70.00
 11/7/2022 Attention to issues related to P&G’s failure to respond to timely and fully served subpoena                        BCN      0.2    $ 350.00   $      70.00
 11/7/2022 Revisions to letter to P&G Construction re: failure to respond to timely and fully served subpoena in effort to    BCN      0.2    $ 350.00   $      70.00
           confer prior to filing of Motion to Compel
 11/7/2022 Draft letter to P&G Construction Consultants re overdue response to subpoena.                                      KAH      0.4    $ 255.00   $     102.00
11/13/2022 Draft Memorandum in Support of Motion to Compel.                                                                   KAH      2.5    $ 255.00   $     637.50
11/13/2022 Draft Motion to Compel Subpoena Response.                                                                          KAH      0.6    $ 255.00   $     153.00
11/13/2022 Draft Proposed Order Granting Motion to Compel Subpoena Response.                                                  KAH      0.2    $ 255.00   $      51.00
11/14/2022 Continue drafting Motion to Compel Subpoena Responses.                                                             KAH      0.2    $ 255.00   $      51.00
11/14/2022 Continue drafting Memorandum in Support of Motion to Compel subpoena responses.                                    KAH      0.4    $ 255.00   $     102.00
11/16/2022 Email from T. Gammill re: filing for Motion to Compel, conferral re same                                           BCN      0.1    $ 350.00   $      35.00
11/16/2022 Draft lengthy email to opposing counsel re duty to confer in good faith prior to filing Motion to Compel           KAH      0.4    $ 255.00   $     102.00
           Subpoena Responses.
11/18/2022 Final drafting of, revisions to Motion to Compel production of records re: subpoena and for sanctions              BCN      0.6    $ 350.00   $     210.00

11/18/2022 Final drafting of, revisions Memorandum of Law Motion to Compel production of records re: subpoena and             BCN      1.9    $ 350.00   $     665.00
           for sanctions, including addition of section re: Rule 45(g)
11/18/2022 Final drafting of, revisions of Order granting Motion to Compel production of records re: subpoena and for         BCN      0.2    $ 350.00   $      70.00
           sanctions against P&G

                                                                                                                                                               Exhibit 3
                                                                             Ex. 3-Motion to Compel Subpoena
  DATE                                                      NARRATIVE                                                       TIME-   HOURS    RATE          VALUE
                                                                                                                           KEEPER
11/21/2022 Draft lengthy email to clients re update of proceedings and Motion to Compel Subpoena Responses                   KAH     0.5    $ 255.00   $     127.50

11/22/2022 Email with client and client re: filing of Motion to Compel against third-party P&G Consultants                  BCN      0.1    $ 350.00   $      35.00
 12/2/2022 Review P&G Consultant’s Response to Motion to Compel Subpoena Response                                           BCN      0.2    $ 350.00   $      70.00
 12/2/2022 Substantial research re: Plaintiff’s unsupported position re: Response to Motion to Compel and options to        BCN      1.4    $ 350.00   $     490.00
           address same
 12/2/2022 Email with client re: P&G’s response to Motion to Compel Subpoena Response and continued refusal to              BCN      0.3    $ 350.00   $     105.00
           cooperate
 12/2/2022 Draft Reply to Response to Motion to Compel and for Sanctions.                                                   KAH      3.6    $ 255.00   $     918.00
 12/4/2022 Draft Reply to Response in Opposition to Motion to Compel Subpoena Responses.                                    KAH      1.3    $ 255.00   $     331.50
 12/5/2022 Research into Tennessee law regarding P&G’s contention that personal service is required upon registered         BCN      0.8    $ 350.00   $     280.00
           agent, even where process server served at office of registered agent
 12/5/2022 Continue drafting Reply to Response in Opposition to Motion to Compel Subpoena Responses.                        KAH      2.9    $ 255.00   $     739.50
 12/5/2022 Draft Motion for Leave to File Reply Memorandum.                                                                 KAH      0.7    $ 255.00   $     178.50
 12/5/2022 Email from Plaintiff's counsel re Reply to Response to Motion to Compel.                                         KAH      0.1    $ 255.00   $      25.50
 12/5/2022 Draft required email to opposing counsel re consent for filing Reply to Response to Motion to Compel.            KAH      0.3    $ 255.00   $      76.50

 12/6/2022 Review of efforts of process server to obtain signature of William Griffin, as opposed to Greg Heath (who        BCN      0.3    $ 350.00   $     105.00
           signed receipt)
 12/6/2022 Extensive revisions to draft Reply in Support of Motion to Compel Subpoena Responses and for Sanctions,          BCN      1.7    $ 350.00   $     595.00
           including substantial revisions to service of process arguments
 12/8/2022 Final revisions to Reply Brief due to belated invitation of D. Berkeley to Status Conference by Judge York's     BCN      0.8    $ 350.00   $     280.00
           Law Clerk and expected position re: service upon Greg Heath
12/16/2022 Preparation for hearing on Motion for Sanctions including designation of all related exhibits                    BCN      0.9    $ 350.00   $     315.00
12/16/2022 Hearing before Judge York and opposing counsel re: representations by Plaintiff, Motion to Compel, and           BCN      0.7    $ 350.00   $     245.00
           Motion for Sanctions
12/19/2022 Lengthy email to client re: Court’s rulings on Motion to Compel, Motion to Withdraw and upcoming deadlines       BCN      0.7    $ 350.00   $     245.00
           for Plaintiff
12/19/2022 Review of Orders entered by Judge York re: rulings on Motion to Compel, Motion to Withdraw, and Motion           BCN      0.2    $ 350.00   $      70.00
           for Leave to file Reply Brief
12/20/2022 Telephone conference with D. Berkley re status and next steps                                                    BCN      0.1    $ 350.00   $      35.00
 1/10/2023 Review of P&G response to subpoena to determine sufficiency of same                                              BCN      0.3    $ 380.00   $     114.00
 1/10/2023 Review original Assignment of Claim produced by P&G to compare with allegedly same document produced             KAH      0.8    $ 275.00   $     220.00
           in response to subpoena
 1/12/2023 Review metadata found on .pdf at issue produced by P&G Construction Consultants and additional                   BCN      0.4    $ 380.00   $     152.00
           questions presented re: same
 1/12/2023 Review Assignment of Claim Agreement in response to Subpoena re metadata                                         KAH      0.6    $ 275.00   $     165.00
 1/15/2023 Verification of continued failure by P&G to provide electronically available information pursuant to subpoena    BCN      0.4    $ 380.00   $     152.00

1/15/2023 Email to client re: status, P&G Construction Consultants’ deficient subpoena production, and failure of           BCN      0.3    $ 380.00   $     114.00
          Plaintiff to advise of new counsel
1/15/2023 3 emails with opposing counsel re: failure of P&G Construction Consultants’ to make subpoena production in        BCN      0.5    $ 380.00   $     190.00
          compliance with Court order
1/15/2023 Efforts to discern identity of members of P&G Construction Consultants from publicly available information in     BCN      0.8    $ 380.00   $     304.00
          order to determine whether public appraiser has an ownership interest in P & G Construction consultants

1/18/2023 Email from D. Berkley re: request to substitute party plaintiff for P&G Construction and corresponding review     BCN      0.3    $ 380.00   $     114.00
          of Plaintiff’s original deadline for doing so
                                                                             Ex. 3-Motion to Compel Subpoena
  DATE                                                      NARRATIVE                                                       TIME-   HOURS    RATE          VALUE
                                                                                                                           KEEPER
1/18/2023 Lengthy email to client re: P&G’s request to be joined to action and failure to respond to subpoena fully         BCN      0.4    $ 380.00   $     152.00

1/19/2023 Rreview sufficiency of documents produced by P&G in responses to subpoena.                                        KAH      0.4    $ 275.00   $     110.00
1/19/2023 Review of additional information provided by P&G Construction Consultants pursuant to demand for                  BCN      0.6    $ 380.00   $     228.00
          additional production of information
1/20/2023 Continue reviewing documents produced by P&G in response to subpoena re meta-data and native file                 KAH      0.5    $ 275.00   $     137.50
          format due to deficiency and suspected fraud
1/20/2023 Email to D. Berkley re: failure of P&G to produce meta data related to Michael Clark’s alleged entry into         BCN      0.3    $ 380.00   $     114.00
          Assignment of Claim
1/23/2023 Review meta-data missing (and produced) from P&G Construction’s subpoena production, preparation of               BCN      0.5    $ 380.00   $     190.00
          explanation re: same to demand production during the Motion for Sanctions hearing
1/30/2023 Review documents re current status of proceedings in preparation for upcoming Show Cause Hearing and              KAH      0.5    $ 275.00   $     137.50
          Supplemental Status Conference, including Mediation Certification, Motion for Sanctions and Order to Show
          Cause Against Michael Clark, Motion to Compel Subpoena Responses and for Sanctions against P&G,
          Court Order granting our Motion to Compel in part, and Court Order Setting Show Cause Hearing.

1/30/2023 Call with client re instructions for requested relief at upcoming show cause hearing.                             KAH      0.3    $ 275.00   $      82.50
1/30/2023 Review recommended deadlines in Standard Track Scheduling Order for Western District of Tennessee in              KAH      0.3    $ 275.00   $      82.50
          preparation for drafting Supplemental Scheduling Order.
1/30/2023 Revise Supplemental Scheduling Order based on Standard Track scheduling order and specific instructions           KAH      0.2    $ 275.00   $      55.00
          from Magistrate Judge York
1/30/2023 Review current deadlines initial Scheduling Order in preparation for modifying deadlines in Supplemental          KAH      0.5    $ 275.00   $     137.50
          Scheduling Order.
1/31/2023 Draft email to Drayton Berkley re proposed supplemental scheduling order and his need to agree to dates           KAH      0.2    $ 275.00   $      55.00
          included therein or advise differently per Magistrate Judge York's instructions
2/1/2023 Review pending Motion for Sanctions and Order to Show Cause against Plaintiff Michael Clark in                     KAH      0.2    $ 275.00   $      55.00
          preparation for attending show cause hearing on Monday, February 6th, including status of award of
          attorneys' fees and remaining motions pending before Court.
2/2/2023 Email to Drayton Berkley re proposed supplemental scheduling order and efforts to locate metadata related          KAH      0.3    $ 275.00   $      82.50
          to P&G's assignment of claim.
2/2/2023 Email from Drayton Berkley re substantive changes to proposed supplemental scheduling order.                       KAH      0.1    $ 275.00   $      27.50
2/3/2023 Email with M. Clark re: Order to Show Cause and proposed Scheduling Order                                          BCN      0.2    $ 380.00   $      76.00
2/3/2023 Continue drafting proposed supplemental scheduling order.                                                          KAH      0.2    $ 275.00   $      55.00
2/3/2023 Telephone conference with D. Berkley re: Mr. Clark’s belated decision to allow Mr. Berkley to serve as his         BCN      0.4    $ 380.00   $     152.00
          counsel
2/3/2023 Review Order setting show cause hearing re whether counsel for Ohio Security can appear via telephone if           KAH      0.2    $ 275.00   $      55.00
          Plaintiff retains counsel.
2/6/2023 Preparation for hearing with Judge York including final drafting of arguments regarding fact that P&G has          BCN      0.3    $ 380.00   $     114.00
          failed to comply with Court Order
2/6/2023 Attendance at hearing with Judge York re: potential trial in October 2023, Mr. Clark’s decision to allow D.        BCN      0.5    $ 380.00   $     190.00
          Berkley to represent him, and arguments re: P&G’s continued failures to respond to subpoena or comply
          with Court Order
2/6/2023 Email to client and client re: results of hearing with Judge York, including Scheduling Order, trial in October    BCN      0.2    $ 380.00   $      76.00
          2023, and Mr. Clark’s decision to allow D. Berkley to represent him
                                                                             Ex. 3-Motion to Compel Subpoena
  DATE                                                     NARRATIVE                                                       TIME-   HOURS    RATE          VALUE
                                                                                                                          KEEPER
2/6/2023  Review known information re: ESI attached to the Assignment of Claim produced by P&G and options for             BCN      0.9    $ 380.00   $     342.00
          P&G to produce same
2/6/2023 Draft email to Drayton Berkley re procedure for accessing native files and meta-data associated with              KAH      0.2    $ 275.00   $      55.00
          assignment of claim agreement produced by P&G given dispute as to whether assignment of claim
          produced is fraudulent or altered from original document.
2/6/2023 Draft lengthy email to electronic discovery team re substantive software review to determine when                 KAH      0.6    $ 275.00   $     165.00
          assignment of claim agreement was signed and executed.
2/13/2023 Analyze options available to Liberty to pursue show cause order against P & G Construction Consultants           BCN      0.3    $ 380.00   $     114.00
          related to failure to comply with court order
2/13/2023 Review prior communications with opposing counsel re: meta-data related to allegedly execution of                BCN      0.2    $ 380.00   $      76.00
          Assignment by Plaintiff
2/13/2023 Draft email to opposing counsel re deficient production of meta-data associated with assignment of claim         KAH      0.3    $ 275.00   $      82.50
          agreement and subpoena and relevant documents for use at Plaintiff's upcoming deposition.

2/14/2023 Email from D. Berkley re: additional efforts to locate electronically stored information and “eureka” moment     BCN      0.1    $ 380.00   $      38.00
          regarding information sought
2/21/2023 Attendance at hearing with Judge York and opposing counsel regarding P & G Construction’s failure to             BCN      0.5    $ 380.00   $     190.00
          produce ESI pursuant to Court Order and new position at that the Assignment of Claim was ink-signed

2/21/2023 Preparation for hearing with Judge York, including designation of information related to all proof we have       BCN      0.7    $ 380.00   $     266.00
          that the Assignment of Claim was electronically signed, and proof provided via PhotoShop re: same

2/21/2023 2 telephone conferences with T. Gammill re: opposing counsel’s statements related to T. Gammill’s alleged        BCN      0.3    $ 380.00   $     114.00
          possession of original, ink-signed Assignment of Claim was in his possession
2/27/2023 2 telephone conferences with Toby Gammill re statements made by D. Berkley at hearing accusing Mr.               BCN      0.2    $ 380.00   $      76.00
          Gammill of withholding production of original settlement and release agreement
2/28/2023 4 telephone conferences with T. Gammill re: efforts to confer regarding Plaintiff’s counsel’s comments           BCN      0.4    $ 380.00   $     152.00
          concerning existence of ink-signed version of Assignment of Claim
2/28/2023 2 emails with T. Gammill re: efforts to confer re: Plaintiff’s counsel’s unsubstantiated comments concerning     BCN      0.4    $ 380.00   $     152.00
          existence of ink-signed version of Assignment of Claim
3/7/2023 2 telephone conferences with opposing counsel re: required efforts to confer regarding production of ESI by       BCN      0.3    $ 380.00   $     114.00
          P&G Construction Consultants
3/7/2023 Preparation for hearing with Judge York, including preparation of argument re: prior efforts and reasons why      BCN      0.4    $ 380.00   $     152.00
          P&G should pay for any necessary ESI work moving forward
3/7/2023 Review differences between prior Assignments of Claim sent to us by P&G Construction, including                   BCN      0.4    $ 380.00   $     152.00
          differences in signature block, different fonts and different emblems shown
3/7/2023 Attendance at hearing with Judge York re: P&G’s continued failures to meet demands of Court and                   BCN      0.5    $ 380.00   $     190.00
          subpoena, and ordering of payment of costs by P&G Construction
3/7/2023 Email to client re: results of hearing with Judge York, awarding of costs of ESI retrieval, and need to delay     BCN      0.4    $ 380.00   $     152.00
          discovery further and upcoming issues
3/7/2023 Conduct investigation into Plaintiff's claim that assignment of claim agreement was ink signed, including by      KAH      0.9    $ 275.00   $     247.50
          comparing two versions of assignment of claim agreement received with different signature formats and
          comparing with plaintiff's prior testimony
                                                                                                                  TOTAL             55.0              $ 17,203.00
